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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,



            v.                                      DECISION AND ORDER
                                                        09-CR–329

KASHIKA SPEED, et al,

                                Defendants.


                                 INTRODUCTION

      Before the Court is defendant Kashika Speed’s motion for reconsideration

of Magistrate Judge Hugh B. Scott’s Decision and Order denying defendant’s

motion for release from custody. For the following reasons, the Magistrate

Judge’s Decision and Order is affirmed and defendant Speed’s motion for

reconsideration is denied.

                    BACKGROUND AND RELEVANT FACTS

      Defendants Thamud Eldridge, Kashika Speed, Kevin Allen, and Galen

Rose are charged with various offenses including racketeering, racketeering

conspiracy, murder in aid of racketeering, conspiracy to distribute controlled

substances, possession of firearms in furtherance of drug trafficking crimes, use,

carry and discharge of a firearm during and in relation to crimes of violence

causing death, and felon in possession of a firearm. (Dkt. No. 164)

      Specifically, it is alleged that defendants were members of a criminal
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organization that engaged in the distribution of cocaine, cocaine base, marijuana

and heroin and also committed acts of violence in furtherance of their drug

trafficking enterprise, including murder, robbery and extortion. The organization

operated principally on the East Side of Buffalo, New York. It is alleged that

defendants robbed, murdered and attempted to rob and murder other individuals

involved in drug distribution and that they carried, brandished and discharged

firearms in furtherance of these activities. The murder counts involve the deaths

of Thedrus Laster and Sam Jones who were killed, in separate incidents, in April

2005.

        Defendant Speed has been incarcerated since on or about September 29,

2009, the time of his initial arraignment. On February 8, 2013, Speed filed a

motion for release from custody on reasonable bail conditions. (Dkt. No. 193)

Speed argued that his detention had reached 44 months as a result of

Government delay as well the Government’s untimely release of additional

information, and that any further detention would constitute a due process

violation.1 A bail review hearing was held before the Magistrate Judge on

February 28, 2013. On March 25, 2013, Magistrate Judge Scott denied

defendant’s motion for release from custody, but without prejudice to revisit the



        1
          This matter has been referred to Magistrate Judge Scott for supervision of all
pretrial proceedings. For a detailed account of the recent pretrial motions which are
relevant to defendant’s bail request, see Magistrate Judge Scott’s Decision and Order
denying the motion for release. (Dkt. No. 200)

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matter and to propose reasonable bail conditions if the Government has not

moved to set a trial date by March 14, 2014. (Dkt. No. 200)

      Defendant Speed filed the instant motion asking this Court to reconsider

the Magistrate Judge’s Decision and Order. (Dkt. No. 206) He argues that his

continued pretrial detention is a violation of his due process rights. The

Government filed a response in opposition. (Dkt. No. 211) Oral argument was

held on September 18, 2013, at which time the Court considered the matter

submitted.

                                     DISCUSSION

      Section 3142(e) of Title 18 of the United States Code allows an individual

to be detained prior to trial if it is found that no condition or combination of

conditions “will reasonably assure the appearance of the [defendant]...and the

safety of any other person and the community. See 18 U.S.C. §3142(e); United

States v. El-Hage, 213 F.3d 74 (2d. Cir. 2000). The Second Circuit has further

explained that: “[t]he government may detain a defendant prior to trial consistent

with the Due Process Clause of the Fifth Amendment so long as confinement

does not amount to punishment of the detainee.” United States v. Millan, 4 F.3d

1038, 1043 (2d. Cir. 1993); El-Hage, 213 F.3d at 79 (“It is well-settled that so long

as pretrial detention is administrative rather than punitive, it is constitutional.”)

However, due process places limits upon how long an accused may be detained

in prison without a trial. El-Hage, 213 F.3d at 76. “[E]xactly how long such

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detention may extend before violating due process limits...has not been fixed in

the law.” Id.

       In order to determine whether the length of pretrial detention has become

sufficiently excessive to create a due process violation, a district court is

instructed to consider: (1) the length of the detention; (2) the extent of the

prosecution’s responsibility for the delay of the trial; (3) the gravity of the charges;

and (4) the strength of the evidence upon which detention is based, namely, the

evidence of risk of flight and dangerousness. Millan, 4 F.3d at 1043; United

States v. El-Gabrowny, 35 F.3d 63, 65 (2d. Cir. 1994). The Court has considered

each of these factors in turn and concludes, in agreement with the Magistrate

Judge, that defendant’s continued detention does not violate his due process

rights at this time.

       While the length of pretrial detention is a factor in determining whether due

process has been violated, the length of detention alone is not dispositive and

“will rarely by itself offend due process.” Milan, 4. F.3d at 1044; quoting United

States v. Orena, 986 F.2d 628, 631 (2d. Cir. 1993). Indeed, the Second Circuit

has held, in certain circumstances, that periods of pre-trial detention of up to and

including 40 months do not violate a defendant’s due process rights. See United

States v. Vondette, 5 Fed. Appx. 73, 75-76 (2d. Cir. 2001) (holding that

defendant’s 40 month pretrial detention did not violate due process where

defendant was leader of a drug enterprise and faced life imprisonment); United

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States v. El-Hage, 213 F.3d 74, 78-81 (2d. Cir. 2000) (finding, after weighing all

factors, that a 30 to 33 month pretrial detention did not violate defendant’s due

process rights); United States v. Milan, 4 F.3d 1038 (2d. Cir. 1993) (a 30 month

period of detention did not violate defendant’s due process rights).

      Here, defendant has been incarcerated for approximately 50 months. By

the time this case goes to trial, his detention time may be close to 55 months. As

recognized by the Magistrate Judge, this is an extremely prolonged period of time

to be detained and awaiting trial. In fact, it is longer than the extensive periods of

pretrial detention upheld by the Second Circuit and discussed above. Therefore,

the length of defendant Speed’s pre-trial detention weighs strongly in favor of his

motion for release.

      However, as previously indicated, the length of detention is not the only

factor this Court must evaluate in evaluating defendant’s motion. The second

factor to be considered is the extent to which the Government is responsible for

the delay. Here, the Magistrate Judge found that two distinct periods of time

passed through no fault of the Government. The Magistrate Judge attributed the

first block of excusable time, a period of just over ten months, to the resolution of

defendants’ motion to recuse the entire United States Attorney’s Office for the

Western District of New York and Assistant United States Attorney (“AUSA”)

Joseph Tripi. This motion came about after AUSA Tripi disclosed certain

statements made by a City of Buffalo police officer that excessive force had been

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used against defendant Eldridge.2 Magistrate Judge Scott concluded, and this

Court agrees, that “just over 10 months passed during the pendency of the

recusal motion when the Government reasonably would have felt paralyzed with

respect to moving the case forward.” (Dkt. No. 200)

      The Court rejects defendant’s arguments that the Government is partially

responsible for the delay caused by the recusal motion. The Government acted

appropriately by disclosing, to defense counsel, the statements made to AUSA

Tripi regarding the alleged excessive use of force against defendant Eldridge.

The Government should not be penalized for its good faith disclosures which

resulted in defendants’ recusal motions and subsequent delay.

      The Court further rejects defendant’s argument that the Government

should have severed Counts 16 and 17 of the Superseding Indictment, which

relate only to defendant Eldridge and form the basis for the recusal motion.

Count 16 charges defendant Eldridge with possession and discharge of a firearm

in furtherance of the drug trafficking crime alleged in Count 3 of the Superseding

Indictment and Count 17 charges defendant Eldridge with being a felon in

possession of a firearm as a result of the same conduct. These counts are

directly related to, and are intertwined with, the remaining allegations in the



      2
         Defendants filed their motion for recusal on March 17, 2011. After the
Government was given an extension of time to respond, oral argument was held on
June 8, 2011. The Magistrate Judge issued an Order on October 7, 2011 and this
Court ultimately resolved the issue of recusal on January 31, 2012.

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Superseding Indictment. They have been properly joined pursuant to Federal

Rule of Criminal Procedure 8 and for reasons of judicial economy. See United

States v. Amato, 15 F.3d 230, 236 (2d. Cir. 1994) (Rule 8 provides that counts

may be joined in a single indictment where the counts are of the same or similar

character, are based on the same act or transaction, or are connected with or

constitute parts of a common scheme or plan...or where the same evidence may

be used to prove each count); United States v. Feyrer, 333 F.3d 110, 114 (2d.

Cir. 2003) (for reasons of “economy, convenience and avoidance of delay”, there

is preference in the federal system for joint trials).

      Moreover, it is important to note that Speed joined in Eldridge’s motion for

recusal. (Dkt. No. 101) It would be illogical to allow defendant Speed to receive

the benefit of joining in the recusal motion at the time it was filed, only to now

successfully contend, months later, that the Government should have severed the

counts relating only to defendant Eldridge and the recusal motion in order to

avoid delay. Thus, the ten-month period during which the recusal motion was

pending should not be attributed to the Government.

      The second period of time excused by the Magistrate Judge concerned the

continuing pendency of defendant Rose’s severance motion.3 The Magistrate


      3
        Prior to the Magistrate Judge’s issuance of the Decision and Order denying
Speed’s motion for release, there had been no determination as to the pending
severance motion. In the Decision and Order, the Magistrate Judge denied defendant’s
severance motion without prejudice to defendant’s right to renew his request before this
Court.

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concluded the following:

      [W]hile any calculation here would be somewhat arbitrary in
      nature...the Court discounts the Government’s responsibility for
      delay in this case by an additional four months based on the
      severance issue, which would be equivalent to the time that has
      passed from the filing of supplemental suppression and dismissal
      motions in December through the present time.

(Dkt. No. 200) The Court is in agreement with the Magistrate Judge that the

Government should not be held accountable for any delay associated with the

pending severance motion, and that a period of four months is an appropriate

time to attribute to this delay.

      With respect to the parties’ arguments regarding protracted motion practice

and untimely Brady disclosures, the Court does not specifically attribute these

delays to either side. This matter is complicated. It involves racketeering and

racketeering allegations against multiple defendants, two murders, robberies,

attempted robberies, narcotics trafficking and multiple firearms charges. If

convicted, defendants face substantial prison terms, including the possibility of

life imprisonment. It is axiomatic that this case would take longer, during its

pretrial stages, than a more standard criminal matter. However, the period of

delay has clearly become excessive and it appears that both the Government and

defense counsel bear some responsibility for failing to move the matter forward in

a more timely fashion. Therefore, this Court will exclude the 14 months

discussed above as not being attributable to the Government, but finds that the



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remainder of the time delay is neutral with respect to both sides. As noted by

Magistrate Judge Scott, discounting Speed’s detention by a period of 14 months

brings Speed closer to the ranges of pretrial detention expressly contemplated

and approved by the Second Circuit.

      The final factors, the gravity of the charges and the strength of the

evidence upon which detention is based, weigh heavily in favor of the

Government. Defendant Speed is charged with being a member of a violent

criminal enterprise which was engaged in drug trafficking, robberies, murders,

and the illegal use of firearms. One of the murder in aid of racketeering charges

involves the murder of an FBI informant. Speed himself is alleged to have

participated in multiple robberies, a kidnaping, a murder, drug trafficking and

firearms possession. He is alleged to have gang affiliations. Significantly, at the

time defendant allegedly committed a number of the very serious acts charged in

the Superseding Indictment, he had just recently been released from a previous

condition of home confinement as a result of a prior conviction.

      Defendant has an extensive criminal history, and a conviction with respect

to the charges listed in the Superseding Indictment could subject him to a

sentence of life imprisonment. This potential term of incarceration, combined with

the crimes of violence, kidnaping, extensive drug trafficking and use of firearms

charged here trigger a presumption that defendant is both a flight risk and a

danger to the community. See 18 U.S.C. §3142(e) (establishing a rebuttable

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presumption against pretrial release due to risk of flight where there is probable

cause to believe that “the person committed an offense for which a maximum

term of imprisonment of ten years or more is prescribed in the Controlled

Substances Act”). Defendant Speed has not submitted evidence sufficient to

rebut this statutory presumption.

      Finally, as noted by the Magistrate Judge, the strength of the Government’s

case with respect to defendant Speed appears to have grown over time. The

Government indicates that it has statements from witnesses detailing Speed’s

participation in the crimes charged and that Speed made incriminating statements

at the time of his arrest. In addition, the Government states that it has recordings

of telephone conversations between defendant Eldridge and defendant Speed, at

the time Eldridge was incarcerated, which serve as evidence of the existence of

the enterprise as well as evidence of defendant Speed’s consciousness of guilt.

      After considering all factors, this Court is in agreement with the Magistrate

Judge that the length of defendant’s detention weighs in his favor, while the

gravity of the charges and strength of the evidence in favor of detention weigh in

favor of the Government. The Court also finds that a period of 14 months of the

delay should not be attributable to the Government, and that this factor benefits

the Government as well. For these reasons, the Court finds that continued

detention is appropriate at this time.

      In accordance with the Magistrate’s Decision and Order, defendant

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Speed’s motion for release is denied. While the Magistrate Judge denied the

motion without prejudice to defendant’s ability to renew his request if the

Government has not moved to set a trial date by March 14, 2014, given the

recent filing of additional motions, this Court declines to adopt this same

deadline.4 However, this Court is extremely concerned that defendant Speed,

along with the three other defendants in this matter, have been in pretrial

detention for a prolonged period of time. The Court acknowledges that there are

outstanding matters which must be resolved, and the parties are instructed to do

everything in their power to move this case forward to trial as expeditiously as

possible. Given the excessive period of pretrial detention faced by defendants,

there could come a point, in the near future, where the length of detention alone

warrants reconsideration of defendant’s request.

                                   CONCLUSION

      For the foregoing reasons and for the reasons set forth in Magistrate Judge

Scott’s Decision and Order, defendant Speed’s motion for release is denied.




      4
        Defendants Allen and Eldridge recently filed a motion for an evidentiary
hearing and various other relief. The Court issued a briefing schedule and oral
argument is to be held on December 12, 2013.

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     SO ORDERED.


                                  s/ Richard J. Arcara
                                  HONORABLE RICHARD J. ARCARA
                                  UNITED STATES DISTRICT JUDGE

DATED: December 12, 2013




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